Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 1 of 34. PagelD #: 50

NAILAH KI. BYRD

CUYAHOGA COUNTY CLERK OF COURTS
1200 Ontario Street
Cleveland, Ohio 44113

Court of Common Pleas

GENERAL PLEADING
December 4, 2017 17:59

By: SCOTT A. KING 0037582

Confirmation Nbr, 1241535

WELLS FARGO BANK, NLA, CV 16 856890

"VS,
Judge: JANET R. BURNSIDE
CYNTHIA LUNDEEN, ET AL.

Pages Filed: 9

Eiectronically Filed 12/04/2017 17:59 / OTHER / CV 16 856890 / Confirmation Nbr. 1241536 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 2 of 34. PagelD #: 51

IN THE COURT OF COMMON PLEAS

CUYAHOGA COUNTY, OHIO
WELLS FARGO BANK, N.A,, ) Case No, CV-16-856890
)
Plaintiff, ) Judge Janet R. Burnside
)
v. )
) MEMORANDUM OF PLAINTIFF
CYNTHIA LUNDEEN, et al., ) WELLS FARGO BANK, N.A. IN
) OPPOSITION TO MOTION OF
Defendants. ) DEFENDANT JAMES E. LUNDEEN
) FOR SUMMARY JUDGMENT

I. IN'FRODUCTION

Plaintiff Wells Fargo Bank, N.A. (‘Wells Fargo”) filed this action against Defendant
Cynthia Lundeen (“Ms. Lundeen”) to recover the balance due on a promissory note (“Note”) and
to foreclose on a mortgage (“Mortgage”) securing the Note’s payment. Defendant James E.
Lundeen, Sr. (“ Mr. Lundeen”) was named as a defendant for having a possible dower interest in
the property on which the Mortgage was executed (the “Property”).

On November 28, 2017, Mr. Lundeen filed a Motion for Summary Judgment (“Motion”)
“on the issue of ltability.” However, the Motion fails to state the claim on which Mr. Lundeen is
moving for summary judgment. In any event, Wells Fargo is not seeking to hold Mr. Lundeen
liable on any of the claims asserted in the Third Amended Compiaint (“TAC”). The Motion fails
as a matter of law and on the facts. The Motion should be denied.
Il. FACTS

It ts undisputed that on June 21, 2005, Ms. Lundeen executed the Mortgage. TAC, Ex. B:
Memorandum in Support of Motion (““Memo.”), p. 1. It is also undisputed that the Mortgage

contains a signature from Mr. Lundeen in which he states that he is releasing dower. (/d.) To

Electronically Filed 12/04/2017 17:59 / OTHER / CV 16 856896 / Confirmation Nbr. 1241535 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 3 of 34. PagelD #: 52

ensure the validity.of both the signature and of the release, he was nained-as 4 defendant in this
action. TAC, | 14 and Ex. D.

On February 15, 2017, Mr. Lundeen filed a Motion to Dismiss arguing that he should not
be a party because he does not have any dower rights in the Property. See 2/15/17 docket entry,
Motion to Dismiss. On that same day, Mr. Lundeen also filed a Counterclaim for libel and for
tortious interference based solely on the fact that he was named as a defendant in this action. See
2/15/17 docket entry, Answer and Counterclaim of James E. Lundeen, Sr.

On March 12, 2017, Weils Fargo filed a Motion to Dismiss the Counterclaim for failure
to state a claim upon which relief can be granted. On November 14, 2017, the Magistrate granted
Wells Fargo’s Motion to Dismiss.

On November 28, 2017, Mr. Lundeen filed this Motion seeking summary judgment on
this issue of liability. Motion, p. 1. The Motion asserts that Mr, Lundeen and Ms. Lundeen were
granted a decree of divorce in 2010. Memo., p. 2 and Ex, A. The Motion claims that because Mr.
Lundeen signed away his dower interest in the Property and the Lundeens divorced, Mr.
Lundeen does not have dower rights in the Property. Memo,, p. 3. The Motion asserts that Wells
Fargo should not have named Mr. Lundeen as a defendant in this action. Memo., p. 4.

On this basis, the Motion seeks summary judgment on the issue of liability. The Motion,
however, does not articulate the claims on which it is moving for summary judgment. To the
extent Mr. Lundeen is seeking summary judgment on his Counterclaim (despite the fact the
Magistrate has already dismissed it), the Motion fails as a matter of law because the
Counterclaim is barred by absolute privilege. If the Motion is seeking summary judgment on the
claims in the TAC, it fails on the facts as Wells Fargo is not seeking to hold Mr. Lundeen liable

for the deficiency owed on the Note and Mortgage. The Motion should be denied.

Electronically Filed 12/04/2017 17:59 / OTHER / CV 16 8568907 Confirmation Nbr, 1247535 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 4 of 34. PagelD #: 53

HL ARGUMENT vba

A. Summary Judgment Standard.

Summary judgment is proper if there is no genuine issue of material fact, viewing the
evidence in a light most favorable to the nonmoving party, reasonable minds can reach but one
conclusion, and that conclusion is adverse to the nonmovant. Civ.R. 56(C); Leibreich v. A./.
Refrigeration, Inc., 67 Ohio St. 3d 266, 268, 617 N.E.2d 1068 (1993). A party will not be
granted summary judgment when he fails to demonstrate he is entitled to judgment as a matter of
law. Id.,; Temple v. Wean United, Ine., 50 Ohio St.2d 317, 327, 364 N.E.2d 267 (1997); Welco
Indus., Ine. v. Applied Companies, 67 Ohio St. 3d 344, 346, 617 N.E.2d 1129 (1993); Murphy v.
Reynoldsburg, 65 Ohio St. 3d 356, 358, 604 N.E.2d 138 (1992).

B. Mr. Lundeen Is Not Entitled to Summary Judgment on the Counterclaim.

The Counterclaim alleges that Wells Fargo committed libel per se and tortiously
interfered with Mr. Lundeen’s business activities by naming Mr, Lundeen as a defendant in this
action. To the extent Mr. Lundeen is seeking summary judgment on the Counterclaim, both
claims fail as a matter of law.

1. The Counterclaim is barred by absolute privilege.

Under Ohio law, the filing of a lawsuit is a form of petitioning the government, and as
long as the statements made in a complaint are related to the substance of the lawsuit, they are
absolutely privileged and cannot be the basis of a libel claim. AZ. DiCorpo, Inc. v. Sweeney, 69
Ohio St.3d 497, 506, 1994-Ohio-3 16, 634 N.E.2d 203 (“The absolute privilege or ‘immunity’ for
statements made in a judicial proceeding extends to every step in the proceeding, from beginning
to end,”); Surace v, Wuliger, 25 Ohio St. 3d 229, 495 NE. 2d 939 (1986) (finding an absolute

privilege against a civil claim for libel based on the filing of a RICO pleading describing the

Electronically Filed 42/04/2017 17:59 / OTHER / CV 16 856890? Confirmation Nbr. 1241535 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 5 of 34. PagelD #: 54

plaintiff as an “underworld'figure”),; Malone v. Lowry, 2hd Dist. Greene No, 06-CA-101, 2007-
Ohio-5665, 925 (‘A claim for libel that relies on statements made within a written pleading does
not state a cause of action where the allegedly libelous statement bears some reasonable
relationship to the judicial proceeding in which it appears.”).

These principles apply to claims for tortious interference. A & B-Abell Elevator Co. v.
Colunbus/Cent. Ohio Bidg. & Constr. Trades Council, 73 Ohio St.3d 1, 15, 1995-Ohio-66, 651
N.E.2d 1283 (holding that when a privilege applies to a defamation claim, it also applies to
tortious interference claim).

Here, the libel and tortious interference claims are based solely upon the statements in the
TAC which names Mr. Lundeen as a defendant who may claim some interest in the Property.
Counterclaim, ff 5, 11. Statements concerning the right to enforce the Note and Mortgage and
Mr. Lundeen’s possible dower interest in the Property are related to the action for foreclosure
and, therefore, are protected by absolute immunity. AZ7, DiCorpo, 69 Ohio St.3d at 506; Surace,
25 Ohio St. 3d 229. The Counterclaim fails as a matter of law.

2. The libel claim fails as a matter of law.

Even if Mr. Lundeen’s libel claim was not barred by judicial immunity, it would still fail
as a matter of law.

“Under Ohio law, the elements of a defamation claim, whether libel or slander, are ‘(a) a
false and defamatory statement concerning another; (b) an unprivileged publication to a third
party; (c) fault amounting at least to negligence on the part of the publisher; and (d) either
actionability of the statement irrespective of special harm or the existence of special harm caused
by the publication.” Harris v. Bornhorst, 515 F.3d 503, 522 (6th Cir, 2008), quoting Akron-

Canton Waste Oil v. Safety-Kleen Oil Servs., 81 Ohio App. 3d 591, 611 N.E.2d 955, 962 (9th

Electronically Filed 12/04/2017 17:59 /OTHER / CV 16 856890 Confirmation Nbr. 12415365 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 6 of 34. PagelD #: 55

Dist. 1992). A “defamatory” statement is one “reflecting injuriously on a petson’s reputation, or
exposing a person to public hatred, contempt, ridicule, shame or disgrace, or affecting a person
adversely in his or her trade, business or profession.” Jackson v. City of Cohunbus, 117 Ohio St.
3d 328, 331, 883 NE.2d 1060 (2008).

Here, the only factual statement in the TAC is that Mr. Lundeen may claim an interest in
the Property. TAC, 7 14. Even if that statement were false (as Mr. Lundeen apparently asserts), it
is not defamatory. Stating that a person who has executed a document relating to real property
may claim an interest in the property does not subject anyone to “public hatred, contempt,
ridicule, shame or disgrace, or affecting a person adversely in his or her trade, business or
profession.” Jackson, 117 Ohio St. 3d at 331. Because a libel requires a defamatory statement,
and because there is no such statement in the TAC, the libel claim fails.

3, The tortious interference claim fails as a matter of law.

Even if Count Two for tortious interference was not barred by judicial immunity (which
it is), it too fails as a matter of law.

‘To state a claim for tortious interference with a contractual relationship, a plaintiff must
allege facts demonstrating “(1) the existence of a contract, (2) the wrongdoer’s knowledge of the
contract, (3) the wrongdoer’s intentional procurement of the contract’s breach, (4) the lack of
justification, and (5) resulting damages.” Kenty v. Transamerica Premium Ins, Co., 72 Ohio
5t.3d 415, 650 N.E.2¢ 863, syllabus § 2 (1995). The elements of a claim of tortious tnterference
with a business relationship are nearly identical, the main distinction being “that interference
with a business relationship includes intentional interference with prospective contractual
relations, not yet reduced to a contract.” Diamond Wine & Spirits, Inc. v. Dayton Heidelberg

Distrib. Co., 148 Ohio App. 3d 596, 2002-Ohio-3932, 774 N.E.2d 775, | 23 Grd Dist.).

Electronically Filed 12/04/2017 17:59 /OTHER / CV 16 856890 ? Confirmation Nbr. 1241535 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 7 of 34. PagelD #: 56

“Lack of justification” requires the claimant to allege that the other-party committed the
interference without any lawful reason to do so. To assess whether the interference was
improper, the Ohio Supreme Court adopted the Restatement (Second) of Torts § 767:

Accordingly, in determining whether an actor has acted improperly in

intentionally interfering with a contract or prospective contract of another,

consideration should be given to the following factors: (a) the nature of the actor’s

conduct, (b) the actor’s motive, (c) the interests of the other with which the actor’s
conduct interferes, (d) the interests sought to be advanced by the actor, (e) the

social interests in protecting the freedom of action of the actor and the contractual

interests of the other, (f) the proximity or remoteness of the actor’s conduct to the

interference, and (g) the relations between the parties.
Fred Siegel Co., L.P.A. v. Arter & Hadden, 85 Ohio St. 3d 171, 177-78, 707 N.E.2d 853 (1999).
Whether interference is improper is a question of law for the court. Midland American Sales —
Weintraub, Inc. v. Osram Sylvania, Inc., 874 F. Supp. 164 (N.D. Ohio 1995),

Actions taken to protect one’s own legitimate interests cannot be the basis of a tortious
interference claim, As the Eighth District made clear: “One cannot be liable for tortious
interference with a business relationship by asserting or threatening to protect properly his own
lawful interests.” Bed/ v. Le-Ge, Inec., 20 Ohio App. 3d 127, 485 N.E.2d 282, syllabus { 2 (8th
Dist, 1985).

Here, the Counterclaim failed to allege sufficient facts to support a plausible claim for
either tortious interference with a contract or tortious interference with a prospective business
relationship. As to tortious interference with a contract, the Counterclaim fails to allege the
existence of any contract, much less that Wells Fargo procured an actual breach of a contract. To
the extent Count Two is for tortious interference with a contract, the Counterclaim fails as a
matter of law.

Nor does the Counterclaim state a claim for tortious interference with prospective

business relationships. While the Counterclaim alleges that Mr. Lundeen “has not been able to

Electronically Filed 12/04/2017 17:59 /OTHER / CV 16 856890 P Confirmation Nbr. 1241535 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 8 of 34. PagelD #: 57

“ secure new lines of credit to operate his business die to this pending civil action” (Counterclaim,
{j 11), the Counterclaim does not allege that Wells Fargo was aware of potential contractual
relations much less that Wells Fargo took any steps to intentionally interfere with them. The
Counterclaim thus fails the second and third elements of this claim. Dicanond Wine & Spirits,
Ine. 2002-Ohio-3932 at J 23.

Moreover, providing a purchaser at a sheriff's sale with clear title is a legitimate reason to
name as a defendant someone who executed a document with respect to real property.
Accordingly, the Counterclaim fails to allege facts to show a “lack of justification.” Diamond
Wine & Spirits, Inc., 2002-Ohio-3932 at { 23.

Even if it were not barred by absolute privilege, the Counterclaim fails to allege facts to
support his claim for tortious interference. Count Two fails as a matter of law.

C, Mr, Lundeen Is Not Entitled to Summary Judgment on the TAC,

To the extent the Motion is seeking summary judgment on the claims asserted in the
TAC, the Motion fails on the facts of the case.

Wells Fargo named Mr. Lundeen as a defendant in this case to ensure the legitimacy of
Mr. Lundeen’s signature releasing dower and that he does not claim an interest in the Property.
Wells Fargo simply seeks a judicial determination that Mr. Lundeen does not have an interest in
the Property in order to protect any purchaser at a sheriff's sale, Wells Fargo is not seeking to
hold Mr. Lundeen liable for the deficiency due on the Note and the Mortgage, Accordingly, in
the event that the Motion is requesting summary judgment on the issue of Mr. Lundeen’s liability
for the claims in the TAC, there is no claim of liability against Mr. Lundeen upon which to grant

summary judgment. The Motion should be denied.

Electronically Filed 12/04/2017 17:59 /OTHER / CV 16 856860 / Confirmation Nbr. 1241535 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 9 of 34. PagelD #: 58

IV. CONCLUSION Co Re etn ps

Whether the Motion is seeking summary judgment on the Counterclaim or on the claims
in the TAC, the Motion fails as a matter of law and on the facts. As for the Counterclaim (which
has already been dismissed), both the libel and tortious interference claims are barred by absolute

privilege. Further, Welis Fargo is not seeking to hold Mr. Lundeen liable for the claims in the

TAC, The Motion should be denied.

Respectfully submitted,

ésf Scott A, King

Scott A. King (40037582)

Caitlin R. Thomas (#0093857)
THOMPSON HINE LLP

3900 Key Center

127 Public Square

Cleveland, Ohio 44114

(216) 566-5500 (T) / (216) 566-5800 (F)
Scott King@ThompsonHine.com
Caitlin. Thomas@ThompsonHine.com

Attorneys for Plaintiff

Electronically Filed 12/04/2017 17:59 / OTHER / CV 16 856890 ? Confirmation Nbr. 4241535 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 10 of 34. PagelD #: 59

CERTIFICATE OF SERVICE

Thereby certify that on December 4, 2017, I electronically filed the foregoing with the
Clerk of the Court using the electronic filing system which will send notification of such filing to

the following:

John E. Codrea Michelle J. Sheehan

Manley Deas Kochalski LLC Reminger Co., LPA

P.O. Box 165028 101 West Prospect Avenue, Suite 1400
Columbus, Ohio 43216 Cleveland, Ohio 44115

Co-counsel for Plaintiff Co-counsel for Plaintiff

Marlon A. Primes

U.S. Courthouse, #400

801 W. Superior Avenue

Cleveland, Ohio 44113

Counsel for United States of America,
Office of the Department of Treasury

Cynthia Lundeen

2380 Overlook Road
Cleveland, Ohio 44106
Defendant

James E. Lundeen

P.O. Box 18452

Cleveland Heights, Ohio 44118
Defendant

A copy has been served by regular U.S. Mail to the following:

State of Ohio Department of Taxation
c/o Ohio Attorney General

150 East Gay Street, 21st Floor
Columbus, Ohio 43215

Defendant

(s/Scott A, King
Scott A. King

Electronically Filed 12/04/2017 17:59 / OTHER / CV 16 856890 ? Confirmation Nbr. 1241535 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 11 of 34. PagelD #: 60

i

So ES IN THE COURT OF COMMON PLEAS

CUYAHOGA COUNTY, OHIO

WELLS FARGO BANK, N.A. Case No; CY-16-856890
Plaintiff

Judge: JANET R BURNSIDE

CYNTHIA LUNDEEN, ET AL,
Defendant

JOURNAL ENTRY

DEFENDANT JAMES LUNDEEN'S MOTION TO DISMISS (CONVERTED TO A MOTION FOR SUMMARY JUDGMENT) IS
UNOPPOSED AND GRANTED. AS THE EVIDENCE PRESENTED DEMONSTRATES THAT DEFENDANT JAMES
LUNDEEN AND THE OWNER OF THE PROPERTY, CYNTHIA LUNDEEN, ARE DIVORCED, DEFENDANT JAMES
LUNDEEN NO LONGER HAS A DOWER INTEREST IN THE SUBJECT PROPERTY. DEFENDANT JAMES LUNDEEN IS

DISMISSED FROM THIS CASE WITH PREJUDICE, PARTIAL.
(om A Pernice

Judge Signature 01/08/2018
CPARC

01/08/2018

RECEIVED FOR FILING
01/08/2018 12:51:07
NAILAH K. BYRD, CLERK

Page | of 1

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 12 of 34. PagelD #: 61

Motion No, 5157741

NAILAH K. BYRD

CUYAHOGA COUNTY CLERK OF COURTS
1200 Ontario Street
Cleveland, Ohio 44113

Court of Common Pleas

POST JUDGMENT MOTION $30
March 20, 2024 15:56

By: JUSTIN M. RITCH 0085358

Confirmation Nbr. 3119164

WELLS FARGO BANK, N.A. CV 16 856890

VS,
Judge: JOAN SYNENBERG
CYNTHIA LUNDEEN, ET AL.

Pages Filed: 5

Electronically Filed 03/20/2024 15:56 / MOTION / CV 16 856890 / Confirmation Nbr. 3119164 / CLJSZ

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 13 of 34. PagelD #: 62

IN THE COURT OF COMMON PLEAS

aa ee ke ke he keh ea hh

Wells Fargo Bank, N.A
Plaintiff,

Vs.

Cynthia Lundeen, et al.

Defendants.

CUYAHOGA COUNTY, OHIO

Oe rrr eee ee ee eh eh hhh hh he hh

Case No. CY-16-856890
Judge Janet R. Burnside
Magistrate Amy R. Jackson

MOTION TO REINSTATE CASE
TO THE ACTIVE DOCKET

Plaintiff moves this Court to reinstate the above referenced case to the Court's active

docket. This action had been stayed automatically under section 362 of the U.S, Bankruptcy

Code. The automatic stay, however, is no longer in effect, as evidenced by the attached

document, As a result, Plaintiff requests that this case be reinstated to the Court's active docket,

As judgment has been entered, the case is being reactivated only for post judgment proceedings.

8
iy

Respectfully submitted,
/s/ Justin M, Ritch

Justin M. Ritch (0085358)
Angela D, Kirk (0075177)

Ann Marie Johnson (0072981)
Michael E, Carleton (0083352)
Carla M. Allen (0100929)
Kimberly D, Fulkerson (0073756)
Kirsten E. Friedman (0096466)
Kyle E, Timken (007138 1)
Richard J. Sykora (0093134)
Manley Deas Kochalski LLC
P, O. Box 165028

Columbus, OH 43216-5028
Telephone: 614-220-5611

Fax; 614-220-5613

Email: jmr3@manteydeas.com
Attorney for Plaintiff

Flectbnh Aferdsetbons 15:56 / MOTION / CV 16 856890 / Confirmation Nbr. 3118164 / CLJSZ

E10

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 14 of 34. PagelD #: 63

IT 1S SO ORDERED.

Dated: 22 November, 2023 12:01 PM \ Q . .
a '

JESSICA E. PRICE SMITH
UNITED STATES BANKRUPTCY JUDGE

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

In re: Case No.: 23-11595

Cynthia M. Lundeen AKA Cynthia Chapter 13
Marek Lundeen, FKA Cynthia
Lundeen Judge Jessica E, Price Smith

ORDER GRANTING MOTION FOR
Debtor(s). RELIEF FROM STAY AND CODEBTOR
STAY (FIRST MORTGAGE) (DOCKET NO.

55)

2380 Overlook Road, Cleveland Heights,
OH 44106

This matter came to be considered on the Motion for Relief from Stay and Codebtor
Stay (the "Motion") filed by Wells Fargo Bank, N.A. ("Movant") (Docket 55), Movant has
alleged that good cause for granting the Motion exists, and that Cynthia M, Lundeen AKA
Cynthia Marek Lundeen, FKA Cynthia Lundeen ('Debtor(s)"), James E, Lundeen
("Codebtor"), counsel for the Debtor(s), the Chapter 13 Trustee, and all other necessary parties

were served with the Motion, and with notice of the hearing date of the Motion, Debtor filed a

Electronically Filed 03/20/2024 15:56 / MOTION / CV 16 856890 / Confirmation Nbr. 3119164 / CLUSZ
23-010678 EIS!

23-11595-jps Doc85 FILED 11/22/23) ENTERED 11/22/23 14:56:14 Page iof3

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 15 of 34. PagelD #: 64

-response in opposition to the Motion at Docket 66, A hearing on the Motion was held on
November 9, 2023, and the motion was granted for cause. For these reasons, it is appropriate to
grant the relief requested,

IT 1S, THEREFORE, ORDERED that the Motion is granted. The automatic stay
imposed by § 362 and § 1301 of the Bankruptcy Code is terminated with respect to the Movant,
its successors, and assigns,

IT IS FURTHER ORDERED that the Chapter 13 Trustee shall discontinue all payments
to Movant on its claim under the Chapter 13 Plan filed by the Debtor(s), Movant is directed to
file a report of sale promptly following liquidation of the property located at 2380 Overlook
Road, Cleveland Heights, OH 44106 (the "Collateral") if any excess proceeds are received.
Should Movant seek to file any unsecured deficiency claim, Movant shall do so no later than 90
days after this Order is entered, If the Collateral has not been liquidated, the deficiency claim is

to be estimated.
HHT

SUBMITTED BY:

/sfStephen R, Franks

Stephen R, Franks (0075345)

Adam B, Hall (0088234)

Steven H, Patterson (073452)

Manley Deas Kochalski LLC

P.O. Box 165028

Columbus, OH 43216-5028

Telephone: 614-220-5611

Fax; 614-627-8181

Attorneys for Movant

The case attorney for this file is Stephen R. Franks,
Contact email is srfranks@manleydeas.com

Electronically Filed 03/20/2024 15:56 / MOTION / CV 16 856890 / Confirmation Nbr. 3119464 / CLJSZ

23-11595-jops Doc85 FILED 11/22/23) ENTERED 11/22/23 14:56:14 Page 2 of 3

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 16 of 34. PagelD #: 65

Copies to; eR yy
Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov (notified by ecf)
Lauren A. Helbling, Chapter 13 Trustee, lauren@helblinglpa.com (notified by ecf)

Jc Ratliff, Attorney for Cynthia M, Lundeen AKA Cynthia Marek Lundeen, FKA Cynthia
Lundeen, atlorney.ratliff@gmail.com (notified by ecf}

Cynthia M. Lundeen AKA Cynthia Marek Lundeen, FEA Cynthia Lundeen, 2380 Overlook
Rd, Cleveland Heights, OH 44106 (notified by regular US Mail)

James E. Lundeen, 2380 Overlook Road, Cleveland Heights, OH 44106 (notified by regular
US Mail)

IRS, Cincinnati, OH 45201 (notified by regular US Mail}

State of Ohio dept tax, 150 East Gay Street, 21st Floor, Columbus, OH 43215 (notified by
regular US Mail)

Wells Fargo Bank N.A., 101 North Phillips Ave, Sioux Falls, SD 57104 (notified by regular
US Mail)

Electronically Filed 03/20/2024 15:56 / MOTION / CV 16 856890 / Confirmation Nbr. 3119164 / CLJSZ

23-11595-jps Doc85 FILED 11/22/23) ENTERED 11/22/23 14:56:14 Page 3 of 3

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 17 of 34. PagelD #: 66

CERTIFICATE OF SERVICE

The undersigned hereby certify that a copy of the foregoing Motion to Reinstate Case to
the Active Docket was sent upon the following parties by ordinary first class U.S. Mail, postage

prepaid, or electronic mail (e-mail) on the date indicated below:

First Class U.S, Mail;
Cynthia Lundeen, 2380 Overlook Road, Cleveland, OH 44106

State of Ohio, Department of Taxation, c/o Ohio Attorney General, 150 East Gay Street, 2} st
Floor, Columbus, OH 43215

Electronic Mail (e-mail):

Elizabeth A, Deucher, Attorney for The United States of America, Office of the Department
of the Treasury, USAOHN.CountyECF@usdoj.gov

Michelle J, Sheehan, Reminger Co., LPA, Co-Counsel for Plaintiff,
msheehan@reminger.com

Scott A, King and Caitlin Thomas, Co-counsel for Plaintiff, scott.king@thompsonhine,com

/s/ Justin M. Ritch

Justin M. Ritch
Angela D, Kirk
Ann Marie Johnson
Michael E. Carleton
Carla M. Allen
Kimberly D. Fulkerson
Kirsten BE. Friedman
Kyle E. Timken
Richard J. Sykora

March 20, 2024
Date

Eloctrbnicah) thed- os aabo24 15:56 / MOTION / CV 16 856890 / Confirmation Nbr. 3149164 / CLUSZ COs

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 18 of 34. PagelD #: 67

Paid $600 - (Standard)

Receipt Date: 04/08/2024

Receipt Number: 245000031427

_ “Order Type: FIFTH PLURIES SALE TO SHERIFF WITH APPRAISAL
Gase: CV_16 856890

Parcel#(s): 685-04-022

The State of Phin }
3s.

CUYAHOGA COUNTY

To the Sheriff of our said County, GREETING:

Whereas, at term of the Court of CUYAHOGA Common Pleas, held at Cleveland,
in and for said County on the 13 day of April A.D. 2018 , in the
cause of

WELLS FARGO BANK, N.A. Plaintiff, and

CYNTHIA LUNDEEN, ET AL

UNITED STATES OF AMERICA, OFFICE OF THE DEPARTMENT OF THE TREASURY
STATE OF OHIO DEPT OF TAXATION

CUYAHOGA COUNTY TREASURER

Defendants, it was ordered adjudged and decreed as follows, to wit:

SEE JOURNAL ENTRY DATED April 13, 2018

We therefore Command You, That you proceed to carry said order, judgment and decree into
execution agreeable to the tenor thereof, and that you expose to sale the above described Real Estate, under the
Statute regulating sales on Execution, and that you apply the proceeds of such sale in satisfaction of said
judgment that decree, with costs and interest, as specified therein; and that you make report of your proceedings
herein, to our Court of Common Pleas. Witness, NATLAH K. BYRD, Clerk of our said Court of
Common Pleas, and the seal of said

Court, at Cleveland, this Ninth

day of April A. D. 2024

Clerk

eee 0 WOU MAL
By ky ta x? Oy Deputy Clerk

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 19 of 34. PagelD #: 68

A

© _IN THE COURT OF COMMON PLEAS °
CUYAHOGA COUNTY, OHIO
WELLS FARGO BANK, N.A. Case No: CV-16-856890

Plaintiff
Judge: JOAN SYNENBERG

CYNTHIA LUNDEEN, ET AL.
Defendant

JOURNAL ENTRY

DECREE OF CONFIRMATION (Parcel(s) #68504022)

THE SHERIFF HAVING SOLD THE PROPERTY DESCRIBED IN THE ORDER OF SALE ISSUED TO HIM, THE COURT
BEING SATISFIED OF THE LEGALITY GF THE SALE AND THAT THE NOTICE OF THE SALE WAS IN ALL RESPECTS IN
CONFORMITY TO LAW, APPROVES AND CONFIRMS THE SAME AND DIRECTS THE SHERIFF TO EXECUTE AND
DELIVER TO GEORGE TROICKY A GOOD AND SUFFICIENT DEED THEREOF, UPON FULL PAYMENT OF THE
PURCHASE PRICE, THE PURCHASER WILL BE ENTITLED TO A WRIT OF POSSESSION AGAINST ALL PARTY
DEFENDANTS. ALL UNDISPUTED STATE LIENS ARE PROTECTED AS PROVIDED [N R.C. SEC. 2329.192.,

PURSUANT TO CIV.R. 38(B), THE CLERK OF COURTS MUST SERVE, IN A MANNER PRESCRIBED BY CIV.R. 5(B), ALL

PARTIES NOT IN DEFAULT FOR FAILURE TO APPEAR NOTICE OF THIS JUDGMENT AND ITS DATE OF ENTRY UPON
THE JOURNAL AND MUST NOTE THE SERVICE ON THE APPEARANCE DOCKET.

op er

Judge Signature 07/18/2024
CPARC

07/18/2024
RECEIVED FOR FILING
07/18/2024 11:20:24
NAILAH K. BYRD, CLERK

Pape | of |

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 20 of 34. PagelD #: 69

NAILAH K. BYRD

CUYAHOGA COUNTY CLERK OF COURTS
1200 Ontarie Street
Cleveland, Obie 44113

Court of Common Pleas

NOTICE OF
July 23, 2024 13:37

By: J C RATLIFF 0027898

Confirmation Nbr. 3226783

WELLS FARGO BANK, N.A. CV 16 856890

vs.
Judge: JOAN SYNENBERG
CYNTHIA LUNDEEN, ET AL.

Pages Filed: 8

Electronicaily Filed 07/23/2024 13:37 / NOTICE / CV 16 856890 / Confirmation Nbr, 3226783 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 21 of 34. PagelD #: 70

IN ‘THE CUYAHOGA COUNTY COURT
OF COMMON PLEAS

Wells Fargo Bank, N.A. Case No.
Plaintiff
Originating Case No. 16-CV-856890
Vv.
Parcel No, 685-04-022
Cynthia Lundeen, et ai.
Defendants

NOTICE OF APPEAL

Notice is hereby given that Cynthia Lundeen, Defendant, hereby appeals to
the Court of Appeals of Cuyahoga County, Ohio, Eighth District (from the final
judgment) ORDER. CONFIRMING SHERIFF’S SALE, said Order filed on
Thursday July 18, 2024. Exhibit A is a true and accurate copy of the Order of July
18, 2024,

Respectfully submitted,

‘sf J.C. Ratliff

J.C. Ratliff (0027898)

Rocky Ratliff (0089781)

RATLIFF LAW OFFICE

200 West Center Street

Marion, Ohio 43302 .

Telephone: 740,383 .6023

Facsimile: 740.383.2066

Email: attorney.ratliff@email.com
Attorney for Defendant Cynthia Lundeen

]
Electronically Filed 07/23/2024 13.37 / NOTICE / CV 16 856890 / Confirmation Nbr. 3226783 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 22 of 34. PagelD #: 71

CERTIFICATE OF SERVICE

Wells Fargo Bank, N.A.’s attorney of record, Justin M. Ritch Gmr3@manleydeas,com) will
receive service of the document via the Court’s electronic document filing system

contemporaneous with filing.

/s/ J.C, Ratliff

J.C, Ratliff (0027898)

Rocky Ratliff (008978 1)

RATLIFF LAW OFFICE

200 West Center Street

Marion,.Ohio 43302

Telephone: 740.383.6023

Facsimile: 740.383.2066

Email: attorney ratliff@gmail.com
Attorney for Defendant Cynthia Lundeen

2
Electronically Filed 07/23/2024 13:37 / NOTICE / CV 16 856899 / Confirmation Nbr. 3226783 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 23 of 34. PagelD #: 72

APPENDIX A

EIGHTH DISTRICT COURT OF APPEALS
LOCAL APPELLATE RULE 9
Praecipe and Docketing Statement .

Name.of Trial Court:

Case Caption: Wells Fargo Bank, N.A.

Plaintiff,
V5.

Gynthia Lundeen, et al.

Defendant

‘Cuyahoga Gounty Court of Common Pleas —

‘Trial Court Case Number: 16-CV-856890

Trial Court Judge:_Joan_Synenberg

Date of judgment appealed; Suly 18, 2024
The notice, of appeal was filed in —
compliance with: -

m App.R. 4(A) (within 30 } days); or

o App.R, 4(8) (time extended); or

© App.R. 5 (delayed appeal) |

A, PRAECIPE: REQUESTING THE RECORD

TO ‘THE CLERK OF THE TRIAL COURT:

1, %: By checking this box, appellant requests that the clerk of the trial
‘court immediately prepare and assemble the original papers and’
exhibits filed in the trial court and a certified copy of docket and journal
’ entries under App.R. 9(A). Gif appellant only selects this box, |
appellant acknowledges that no twanscript is required to be

prepared.)

2, o Check this box if you seek the record in this appeal to include one of
the following listed below that is necessary for the resolution of the
appeal. (Please select only one of the following below.) |

a. 6 Complete transcript under App.R. 9(B). (Note: the appellant
must instruct the court reporter to prepare the transcript.*)

b, a Partial transcript under App.R. 9(B), (Note: the appellant must

instruct the court reporter to prepare the transeript.”)

c, 0 Statement of evidence or proceedings under App.R, 9(C).

d.o Agreed statement under App.R. 9()).

Electronically Filed 07/23/2024 13:37 / NOTICE / CV 16 856890 / Confirmation Nbr, 3226783 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 24 of 34. PagelD #: 73

Te B, CALENDAR
' Choose the appropriate calendar designation for this case, Check only one of.
the following:

mx Regular Caleridar

‘This is the appropriate selection if any of the following apply:
« Transcript and all other evidentiary materials are more than one
hundred pages;
» A brief in excess of 15 15 pages is necessary to argue the issues adequately;
~ Appeal concerns unique issues of law that will be of substantial
precedential value in determining similar cases;
= Appeal concerns multiple or-complex issues; oF
» Do not want accelerated calendar,

.u Accelerated Calendar (See LocApp.R. 11.1)
An appeal may be assigned to the accelerated calendar if (1) no transcript is
required, or (2) the transcript and all other evidentiary materials consist of
100 or fewer pages. If any of the criteria listed above for regular calendar
applies, the appeal will not be assigned to the accelerated calendar,

o Expedited Calendar (See App.R, 11.2)
This is the appropriate selection if any of the following apply. Please
designate the specific category below: -

o Abortion-xelated appeal from juvenile court.
c) Adoption or parental rights appeal (includes award of tenopovary
custody to the agency)
ci Dependent, abused, neglected, unruly or delinquent child appeal
© Prosecutorigl appeal from suppression order
c1 Denial of a bail bond as provided in R.C, 2937.222(D)
ou Election contests as provided in R.C. 3515.08
2 Marsy’s law appeal as provided in R. C. 2930.19(A) |
o Other:

* Note: If requesting a transcript from the Cuyahoga County Common Pleas, General Division,

you must send a copy of the prascipe to CPREPAPPCOMM @oityahogacounty.us.

~ For all other courts, contact thie trial court or consult the trial court’s website, You miay have to
file a inotion with the trial court to obtain a transcript.

Electronically Filed 07/23/2024 13.37 / NOTICE / CV 16 856890 / Aontirmation Nbr, 3226783 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 25 of 34. PagelD #: 74

C, GENERAL INFORMATION

1, Was a stay requested in the trial court? % Yes 0 No (See A pp. R. 7 and
App.R. 8)

Ifa stay was requested, how did the trial ‘court rule?
. . n Granted x Denied o Pending

2. If this case has previously been before this Court, list prior appellate case
number(s):
-_ GA~1.9-1.07184

3. List case names and numbers of cases pending i in this court that involve
the same transaction or controversy involved in this appeal: None,

4. Probable issues for appeal (if known); jurisdiction, statute of. Limitations,
fraud on thé court; lack of notice, Improper property valuation, inter ‘alia

5. Have you attached a time-stamped copy of the final judgment being -
appealed as required under Loc.App.R. 3(B)? —s& Yes

6, Have you been declared a vexatious litigator? coY¥es &No
If yes, did you comply with R.C, 2323. 52(F (2) and seek leave to file?
a Yes oNo

7, Is this an appeal from a decision pertaining to an expungement or civil
stalking protection order? uuYes ow No

D., CRIMINAL CASE

(If this is an appeal from a civil case, skip ahead to SECTION E. Ifa
criminal case, complete this section and then skip to the signature block.) .

4. Does the sentencing order contain the following four requirements:
« fact of conviction for each count; .
« geparate'sentence for each convicted count;
~ - signature of trial court judge; and .
= file stamp of the clerk of court?

Electronically Filed 07 BEGGS 4S NROTICE / CV 16 856890 / Confirmation Nbr. 3226783 / BATCH
4 :

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 26 of 34. PagelD #: 75

., 2. Ifaco-defendant(s) was indicted and convicted under the same
complaint, list the name(s) of co- defendant(s):

3. Type of Appeal (Select only one of the following):
1 Defendant’s Appeal as of Right _o State’s Appeal as of Right
0. Defendant’s Delayed Appeal by Leave of Court (See App.R. 5(A))
4 State’s Appeal by Leave of Court (See App.R. 5(B) |
o Interlocutory Appeal pursuarit to R.C. 2930.19

NOTICE TO PROSECUTOR: If this appeal implicates Marsy’s law, the
prosecutor must notify the victim(s) if required by law. See R.C. 2930.15 and
2930.19, _

E, CIVIL CASE

1, Specify the type of action in the trial court (e.g., administrative appeal;
contract; declaratory judgment; domestic relations: juvenile; medical

malpractice; personal injury; pr obate; ete,):
foreclosure, confirmation of sale

2. Is the order appealed from a final appealable order: .
a. Did the judgment dispose of all claims by and against all parties?
x1 Yes oc No

b. If not, is there a determination that there is “no just reason for delay”
per Civ.R. §4(B)?
o Yes a No

c. If you are appealing an interlocutory order, specify what authority
(e.g., specific provision under R.C, 2505.02, other statute, or case law)
that gives this court jurisdiction to hear the appeal:

Electronically Filed 07/23/2024 13:37 / NOTICE / CV 16 856890 / ontiematton Nbr. 3226783 / BATCH

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 27 of 34. PagelD #: 76

ae ey hae teen
eye tee TERA NOT:

3. Settlement discussions:
a. How would you characterize the extent tof your settlement’ discussions

before judgment? _
ou None © Minimal

ti Moderate c Extensive

b. Have settlement discussions taken place since the judgment or order
appealed from was entered? a Yes No.

c. Would a mediation conference assist in the resolution of this matter?
aYes oNo . .
gi Maybe

I certify that the above information is accurate to the best of my knowledge. Lalso
acknowledge that I must file the Notice of Appeal along with this Praecipe and

Appg ant or Attorney fér Appellant

¥

CERTIFICATE OF SERVICE. .

I certify that a copy of this Praecipe and Docketing Statement was served upon
Justin M. Riteh (0085358) lead counsel for .
Wells Fargo Bank, N, VA on July 92 22 / 2024. in the following

via the Court's electronic filiiag system for counsel of record -

jmx 3@manLeydeas , com Counsel for Well “Oe iieg

nature) —

gnanner:

Electronically Filed 07/23/2024 13:37 / NOTICE / CV 16 856890 / Confirmatton Nbr. 3226783 / BATCH
3

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 28 of 34. PagelD #: 77

cA
IN THE COURT OF COMMON PLEAS |

CUYAHOGA COUNTY, OHIO
WELLS FARGO BANK, N.A. Case No: CY-16-856890
Plaintiff
Judge: JOAN SYNENBERG
CYNTHIA LUNDEEN, ET AL.
Defendant

JOURNAL ENTRY

DECREE OF CONFIRMATION (Parcel(s) #68504022)

THE SHERIFF HAVING SOLD THE PROPERTY DESCRIBED IN THE ORDER OF SALE ISSUED TO IM, THE COURT
BEING SATISFIED OF THE LEGALITY OF THE SALE AND THAT THE NOTICE OF THE SALE WAS IN ALL RESPECTS IN
CONFORMITY TO LAW, APPROVES AND CONFIRMS THE SAME AND DIRECTS THE SHERIFF TO EXECUTE AND
DELIVER TO GEORGE TROICKY A GOOD AND SUFFICIENT DEED THEREOF, UPON FULL PAYMENT OF THE
PURCHASE PRICE, THE PURCHASER WILL BE ENTITLED TO A WRIT OF POSSESSION AGAINST ALL PARTY
DEFENDANTS, ALL UNDISPUTED STATE LIENS ARE PROTECTED AS PROVIDED IN R.C, SEC, 2329,192.

PURSUANT TO CIV.R. 58(B), THE CLERK OF COURTS MUST SERVE, IN A MANNER PRESCRIBED BY CIY.R. 5(B), ALL

PARTIES NOT IN DEFAULT FOR FAILURE TO APPEAR NOTICE OF THIS JUDGMENT AND ITS DATE OF ENTRY UPON
THE JOURNAL AND MUST NOTE THE SERVICE ON THE APPEARANCE DOCKET,

f Spent
Judge Signature 07/18/2024
CPARC

07/18/2024

“RIVED FOR F G
Electronically Filed 07/23/2024 13:37 / NOTICE / CV 16 SB A8etonepntamation Nbr, 3226783 / BATCH
NAILAILK, DYRD, CLERK

Page | of I

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 29 of 34. PagelD #: 78

Sheriff

CV-16-856890 5PLU

DISTRIBUTION of SALE PROCEEDS REPORT

The State of Ohio | ...

Cuyahoga County

WELLS FARGO BANK, N.A., Plaintiff
CYNTHIA LUNDEEN, ET AL, Defendant

Sale Date; Monday the 20th day of May A.D. 2024
Purchaser: GEORGE TROICKY

Purchase Price: $369,100.00

PAID
Paid Costs to Clerk $8,552.93
Retained Sheriff Fees $5,589.50
Paid Taxes $18,963,06
PAID WELLS FARGO BANK, N.A. 335,994.51]
Balance to Clerk $0.00
Sheriff to Hold 0.00
Total Amount Made on this Writ $369,100.00
Bb tod
Harold A. Pretel, Cuyahoga County Sheriff

(ES eoeeraebia OSS WIC Doc #:1-3 Filed: 02/24/25 30 of 34. PagelD #: 79

AE TLEVAGUINS DECHON 2/UI.UE of the Kevised Code provides that if a praecipe us for the recovery af money onty, ened

state the amount for which judgement is asked.

oo PRAEC IPE iit

Bec. 2108.08 B.C.

Wears _ Sax XO. Bont nih. "COURT OF COMMON PLEAS

- GUYAHOGA: COUNTY, OHIO
~~" Plaindi, .

CASE No.Lla~ 56890
Ens sivAecg ETAL _ Cleveland, one Ned 2 y

Defendant,  C'V16856890.

10 HE CLERK : {AOC i wi

Issue. Ws oX Vosse asion

directed tothe Sheriff of “comers ee
Camas 5

3% “Outen RA - Cieveland WES, wh, UIDs

om

returnable according to law
Endorse thereon: Action for

er
a ete
32 2 =
‘ . * Og ~ f T
Amount.Claimed §. 32 . i
' oO .
Attorney (oes sn C2 a
330%
CERTIFICATION i
(Must be completed for Writ of Possession to issue)

f,

, attorney of record in this proceeding, do hereb y

certify that the person(s) named above against whom this writ of possession is requested, have been
named as parties to this action, have been properl ly served with a complaint and summons, and have
. been afforded the opportunity to respond and to protect their interests. Irealize that a default in any
of the.e requirements will prohibit the Clerk of Courts from issuing this Writ.
renal: Berge TN ary & gmail LOY

M bratrdi @amart com Name Berge .Ws.0cy | Alex ondta, We ay
exon d6O A.

Address A590 Dre ave Rd
Ceveland joa W234
Phone ANo-TO\-Ta00 | a\G-T1H 457]

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 31 of 34. PagelD #: 80,

THE. CUYAHOGA COUNTY SHERIFF” S DEPARTMENT
SHERIFF HAROLD A PRETEL

_ Case No: CV-16-856890 SPLU

CYNTHIA LUNDEEN 2380 OVERLOOK RD -
ee CLEVELAND, OH:44106

IMPORTANT

EVICTION WILL BE EXECUTED ON OR AFTER ee
Tuesday, January 7, 2025 oo

i

a Fo Co Ry Jolene ler
Sa vo eae :

Filing Party: GEORGE TROICKY & ALEXANDRA TROICKY
216-701-1200 OR 216-774-9541 ©

SCAL

2 of 34. PagelD #: 81

CV16856890

RETURN - WRIT OF POSSESSION

aq =
Sag.
oe os tae
The State of Ohio } ss. sr Ty
Cuyahoga County SS >
si, UJ
uF ua
WELLS FARGO BANK, N.A., Plaintiff wn
vs
CYNTHIA LUNDEEN, ET AL, Defendant
FEES SERVICE RESULTS
Writ Of Possession $60.00 Notice POSTED 11/25/2024 AT
| 10:01AM -
Service and Return $18.00 Deputy,
! Mileage $54.00
Clerk of Courts $2.00
Service Date / Time 01/07/2025 at 10:01 AM
i Deputy NEUDECKER, BELICA,
Total Cost $134.00 BELICA
Result EVICTION CANCELLED
BY DEPUTIES
CANCELLED DUE TO LEASE AND OTHER
PAPERWORK.
Total Cost Paid By: GEORGE & Cuyahoga County Sheriff
ALEXANDRIA TROICKY//

DEPUTY

Returned - January 8, 2025

 CV16856890

OC eH a .

acral

Case: 1:25-cv-00367-JPC eee vane) tee
CV16856896 :

wm wai

856890 Ohio Revised Code 2327.02

The State of Phio, | ss
To the Sheriff of said County, - GREETING:

Cuyahoga County.

WHEREAS, in a certain action lately prosecuted in our Court of Common Pleas, within and
for said Cuyahoga County, wherein WELLS FARGO BANK, N.A., Plaintiff Recovered a judgment
against, CYNTHIA LUNDEEN, ET AL., Defendant For the premises and the possession of the

following described real property, to-wit:

PLEASE EVICT: CYNTHIA LUNDEEN, ET AL., his/her family and all of
their
possessions from: 2380 OVERLOOK ROAD
CLEVELAND HEIGHTS OH 44106- PRO CESS E D
NOY 20 2024
Imaging Department

Cuyshoge County Clark of Courts
Together with $ damages and $ costs,

THEREFORE, You are commended to deliver possession of the real property afore-said to
the purchaser - GEORGE TROICK Y

and that you make due

return of this writ within sixty days from date hereof.

Xo of Cleveland, this 20th day of November A.D.
a

CC-§ / 1227

0¢ Palit pue patumnjoy

Ww 0z poatoooy

AMIONY $ JIBUELY

6 = $° cee ee eee $1S072 sesvosouy

UVAHOGR SHE
NOU 21 24 anG:38

grevrecrtererstttecee ssojs ed

ea

Woy, WU]

COT WOT FaqUISAON palep JU SIUL

savnva INV ALYYdOUd TVA
NOISSASSOd JO LRUM

“TV Ta NaaCNNT VIHINAD
‘SA
WN OOUINVd OOUVA STTIM

Case: 1:25-cv-00367-JPC Doc #: 1-3 Filed: 02/24/25 34 of 34. PagelD #-83——________

seajq UOUMIOZ BSOYyBANT

PAS 068958 “eN asnD

hs

The' State of Bhio,
Cuyahoga County.

Service and Return

Mileage

